The court incorporates by reference in this paragraph and adopts as the findings and orders
of this court the document set forth below. This document was signed electronically at the
time and date indicated, which may be materially different from its entry on the record.




      Dated: 09:49 AM August 26, 2022




                  IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION
 IN RE SQUIRRELS RESEARCH LABS LLC, ET AL. CASE NO. 21-61491-RK
                  Debtors                  (JOINTLY ADMINISTERED)
                                           CHAPTER 11
                                           SUBCHAPTER V
                                           JUDGE KENDIG


 ORDER GRANTING FIRST AND FINAL APPLICATION OF FREDERIC P. SCHWIEG, FOR APPROVAL
      OF COMPENSATION AS TRUSTEE THROUGH CONFIRMATION OF PLANS [DOC. 274]
      Before the Court is the First and Final Application of Frederic P. Schwieg, for Approval

of Compensation as Trustee through Confirmation of Plans [Doc. 274] (“Motion”). All parties in

interest having been duly served with notice of the Motion and the deadline to respond, and no

party in interest having appeared in opposition to the Motion, the Court being fully apprised in

the premises, FINDS and ORDERS as follows:

        THE COURT FINDS that the compensation requested as adjusted by the court at the

hearing is reasonable considering the nature and extent of such services, the time spent on such

services, and the rates charged. The Court finds that the services rendered were necessary to the

administration of the case, that they were performed in a reasonable amount of time


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commensurate with the complexity and importance and nature of the matters presented. The

Court finds that Mr. Schwieg has demonstrated skill and experience in the bankruptcy field and

the compensation is reasonable based on the customary compensation charged by comparably

skilled practitioners in cases other than under this title.

         IT IS THEREFORE ORDERED THAT Frederic P. Schwieg’s request for fees in the

amount of $12,510.00 as an administrative expense against the bankruptcy estate is hereby

FINALLY APPROVED for payment, he is hereby allowed to retain the interim payment from

the Debtor of $3,870, and the Debtor is authorized and directed to immediately pay the balance

of $8,640.00 from the funds on hand in this bankruptcy estate.

                                                           ###

Prepared By:
/s/ Frederic P. Schwieg, Esq.
Frederic P. Schwieg, Esq. (0030418)
Attorney at Law
19885 Detroit Rd. #239
Rocky River, OH 44116
(440) 499-4506
Fax (440) 398-0490
fschwieg@schwieglaw.com
    ECF Service
The following is a list of the parties who are on the list to receive e-mail notice/service for this case:
John C. Cannizzaro on behalf of Interested Party Instantiation LLC
John.Cannizzaro@icemiller.com, lauren.prohaska@icemiller.com

Nicholas Paul Capotosto on behalf of Debtor Squirrels Research Labs LLC
ncapotosto@brouse.com, tpalcic@brouse.com

Nicholas Paul Capotosto on behalf of Plaintiff Squirrels Research Labs LLC
ncapotosto@brouse.com, tpalcic@brouse.com

Christopher Paul Combest on behalf of Creditor Avnet, Inc.
christopher.combest@quarles.com

John G. Farnan on behalf of Creditor Cincinnati Insurance Company
jfarnan@westonhurd.com

Robert E. Goff, Jr. on behalf of Creditor Cincinnati Insurance Company
rgoff@westonhurd.com, jroberts@westonhurd.com



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Steven Heimberger on behalf of Interested Party SCEB, LLC
sheimberger@rlbllp.com, HeimbergerSR82735@notify.bestcase.com

Jeannie Kim on behalf of Interested Party Instantiation LLC
JeKim@sheppardmullin.com, dgatmen@sheppardmullin.com

Marc Merklin on behalf of Debtor Squirrels Research Labs LLC
mmerklin@brouse.com, tpalcic@brouse.com;mmiller@brouse.com

Marc Merklin on behalf of Plaintiff Squirrels Research Labs LLC
mmerklin@brouse.com, tpalcic@brouse.com;mmiller@brouse.com

David M. Neumann on behalf of Creditor Envista Forensics, LLC d/b/a AREPA
dneumann@meyersroman.com, jray@meyersroman.com;mnowak@meyersroman.com

David M. Neumann on behalf of Creditor Torea Consulting Ltd.
dneumann@meyersroman.com, jray@meyersroman.com;mnowak@meyersroman.com

Christopher Niekamp on behalf of Creditor Better PC, LLC
cniekamp@bdblaw.com

Matthew T. Schaeffer on behalf of Creditor Fleur-de-Lis Development, LLC
mschaeffer@baileycav.com, lpatterson@baileycav.com

Matthew T. Schaeffer on behalf of Defendant Fleur-de-Lis Development, LLC
mschaeffer@baileycav.com, lpatterson@baileycav.com

Matthew T. Schaeffer on behalf of Defendant Cynthia Heinz
mschaeffer@baileycav.com, lpatterson@baileycav.com

Matthew T. Schaeffer on behalf of Defendant Rocco Piacentino
mschaeffer@baileycav.com, lpatterson@baileycav.com

Paul J. Schumacher on behalf of Interested Party Ohio Power Company dba American Electric Power
pschumacher@dmclaw.com, tgross@dmclaw.com

Frederic P. Schwieg
fschwieg@schwieglaw.com

Frederic P. Schwieg on behalf of Trustee Frederic P. Schwieg
fschwieg@schwieglaw.com

Frederic P. Schwieg on behalf of Trustee Frederic P. Schwieg
fschwieg@schwieglaw.com

Bryan Sisto on behalf of Creditor Carl Forsell
bsisto@fbtlaw.com

Richard J. Thomas on behalf of Creditor Premier Bank
rthomas@hendersoncovington.com, dciambotti@hendersoncovington.com

Joshua Ryan Vaughan on behalf of Creditor Ohio Bureau of Workers Compensation
jvaughan@amer-collect.com, SAllman@AMER-COLLECT.COM;HouliECF@aol.com

Julie K. Zurn on behalf of Debtor Squirrels Research Labs LLC
jzurn@brouse.com, tpalcic@brouse.com


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Julie K. Zurn on behalf of Debtor The Midwest Data Company LLC
jzurn@brouse.com, tpalcic@brouse.com

Julie K. Zurn on behalf of Plaintiff Squirrels Research Labs LLC
jzurn@brouse.com, tpalcic@brouse.com

Kate M. Bradley ust44 on behalf of U.S. Trustee United States Trustee
kate.m.bradley@usdoj.gov




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